      Case 4:15-cv-00214-A Document 8 Filed 04/30/15   Page
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                                                            1 of 1 PageID 53
                                                           ,U.S. DiSTR1(::r COFRT     -,
                                                       NORfHERi\' DJSn:!CT OF n:x.,\ C;       !
                                                                      FILED                   '
                      IN THE UNITED STATES DISTRI T COU T
                           NORTHERN DISTRICT OF T XAS              N>R 302015
                               FORT WORTH DIVISION

JOEL ALONSO t ET AL. t                  §
                                                           CLERK, U.S. DISTRICT CO IJ' P»
                                                       >     By                        ., f
                                        §                              DepU!\i
              Plaintiffs t              §
                                        §
VS.                                     §    NO. 4:15-CV-214-A
                                        §
ALLSTATE TEXAS LLOYDS t                 §
                                        §
              Defendant.                §


                                     ORDER

        Came on for consideration the agreed motion to remand t filed

in the above-captioned action by plaintiffs t Joel Alonso and

Maria Alonso t and defendant t Allstate Texas Lloyd's.                    Having

considered the motion t the court concludes that it should be

granted.

        Therefore t

        The court ORDERS that such motion bet and is herebYt granted

and that the above-captioned action bet and is herebYt remanded

to the state court from which it was removed.

        SIGNED April 30 t 2015.




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